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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                            Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,
                                                   ADMINISTRATIVE MOTION TO FILE
  v.                                               EXCESS PAGES AND TO ESTABLISH
                                                   PRIIVLEGE BRIEFING SCHEDULE
META PLATFORMS, INC.,

                                    Defendant.


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       Pursuant to Civil L.R. 6-3, Plaintiffs Richard Kadrey, Sarah Silverman, Christopher

Golden, Michael Chabon, Ta-Nehisi Coates, Junot Diaz, Christopher Golden, Richard Greer,

David Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Ayelet Waldman,

Jacqueline Woodson, and Christopher Farnsworth (collectively, “Plaintiffs”), respectfully submit

this Administrative Motion requesting leave to file letter briefs concerning the adequacy of

Defendant Meta Platform, Inc.’s (“Meta’s”) amended privilege logs and assertions of attorney-

client privilege and work product with expanded page limits and lifted exhibit restrictions, and to

establish a sequential briefing schedule.

       On Wednesday, November 6, 2024, Judge Chhabria issued an order extending the deadline

for submitting letter briefs on “existing written discovery” to November 8, 2024. Dkt. No. 258.

On Tuesday, November 5, before that order was executed, Plaintiffs initiated contact with Meta

regarding submission of a joint letter brief concerning the adequacy of Meta’s amended privilege

logs and Meta’s privilege assertions. This briefing is not a surprise; the parties have exchanged

extensive meet-and-confer letters on these topics for the last two months and have met and

conferred twice. The briefing is also timely. While Meta now argues that Plaintiffs waived this

briefing because privilege issues were not raised by the October 16 deadline to “Meet and Confer

re: Existing Written Discovery,” this ignores the following critical facts:

       x   The parties already met and conferred on September 24, 2024 regarding Meta’s
           privilege log, and Plaintiffs’ thorough October 23, 2024 letter plainly put Meta on

           notice of those issues once again. Meta responded to that letter in writing on November

           1, 2024.

       x   The timeline concerning “existing written discovery” was not intended to address

           privilege issues at all. Prior schedule proposals included a joint deadline for filing

           briefs related to existing written discovery and privilege logs, but the “privilege logs”

           portion was later removed, at Meta’s request. Pritt Decl., Ex. A at 5, 7. Indeed, prior

           iterations of the schedule placed a (also removed) meet-and-confer on privilege issues

           after both the separate deadline to meet and confer regarding “existing written


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           discovery” and the deadline for filing letter briefs on “existing written discovery.” If

           privilege issues were intended to be governed by the “existing written discovery”

           deadline, then this meet-and-confer schedule would have made no sense whatsoever.

       x   Through the course of the parties’ exchange of letters in late October and early

           November, Meta agreed to take remedial action on certain of the disputed issues.

           Further, the scope of the remaining privilege-related disputes only became clear when

           Meta sent its updated position letter on November 1, which confirmed where the parties

           truly were at impasse. Filing an earlier letter brief just to avoid “time-barring” would

           have instead presented unripe discovery issues to the Court where the parties were still

           working to agree on remedial action.

       As mentioned above, privilege-related issues are not covered by the deadlines for “existing

written discovery.” Nevertheless, Plaintiffs engaged in extensive negotiations with Meta in an

effort to find a mutually agreeable way to brief the remaining privilege issues by November 8.

Those negotiations included proposals to engage in sequential letter briefing to afford Meta

additional time to prepare a response, as well as proposals to extend page and exhibit limits such

that all briefing could be accomplished at once instead of in numerous 2.5-page letter briefs.

Unfortunately, despite much back-and-forth, the parties were unable to reach an agreement on a

joint briefing schedule.
       Because Meta will invariably argue time-barring once again if Plaintiffs wait any longer to

raise existing privilege disputes, Plaintiffs have no choice but to submit a unilateral letter brief on

November 8. Plaintiffs’ brief, along with accompanying exhibits, is filed concurrently with this

administrative motion.

       Plaintiffs request the following administrative relief from the Court, which seeks the same

page limits for the opening brief and response brief that Meta offered during the parties’

negotiations, and the same deadline for Meta’s response that Meta offered during the parties’

negotiations:




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     (1) Leave to file a 10-page privilege letter brief along with additional exhibits of any type;

        and

     (2) Establishment of the letter briefing schedule detailed in the following chart.

        Plaintiffs’ Opening                 Friday, Nov. 8              Up to 10 pages
        Letter Brief
        Meta’s Response Letter            Thursday, Nov. 14             Up to 10 pages
        Brief
        Plaintiffs’ Reply Letter    Monday, Nov. 18, 9 A.M. P.T.        Up to 5 pages
        Brief


Dated: November 8, 2024                            Respectfully submitted,
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